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                         Case Nos. 2021-2251, 2021-2291

            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

                                        2021-2251
                        REALTIME DATA LLC, dba IXO,
                              Plaintiff-Appellant
                                       v.
                   ARRAY NETWORKS INC., NIMBUS DATA, INC.,
                                 Defendants,
        FORTINET, INC., REDUXIO SYSTEMS, INC., QUEST SOFTWARE, INC.,
              CTERA NETWORKS, LTD., ARYAKA NETWORKS, INC.,
         OPEN TEXT, INC., MONGODB INC., EGNYTE, INC., PANZURA, INC.,
                                  Defendants-Appellees
         _____________________________________________________________
          Appeal from the United States District Court for the District of Delaware
                in Case No. 1:17-cv-00800-CFC, Judge Colm F. Connolly

                                        2021-2291
                           REALTIME DATA LLC, dba IXO,
                                    Plaintiff-Appellant
                                             v.
                          SPECTRA LOGIC CORPORATION,
                                   Defendant-Appellee
         _____________________________________________________________
          Appeal from the United States District Court for the District of Delaware
                in Case No. 1:17-cv-00925-CFC, Judge Colm F. Connolly


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                            EXEMPLARY CLAIMS


U.S. Patent No. 9,054,728

     25.    A computer implemented method comprising:

            analyzing, using a processor, data within a data block to identify one or
            more parameters or attributes of the data within the data block;

            determining, using the processor, whether to output the data block in a
            received form or in a compressed form; and

            outputting, using the processor, the data block in the received form or
            the compressed form based on the determination,

            wherein the outputting the data block in the compressed form comprises
            determining whether to compress the data block with content dependent
            data compression based on the one or more parameters or attributes of
            the data within the data block or to compress the data block with a single
            data compression encoder; and

            wherein the analyzing of the data within the data block to identify the
            one or more parameters or attributes of the data excludes analyzing
            based only on a descriptor that is indicative of the one or more
            parameters or attributes of the data within the data block.
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U.S. Patent No. 9,116,908

     1.    A system comprising:

           a memory device; and

           a data accelerator configured to compress: (i) a first data block with a
           first compression technique to provide a first compressed data block;
           and (ii) a second data block with a second compression technique,
           different from the first compression technique, to provide a second
           compressed data block;

           wherein the compressed first and second data blocks are stored on the
           memory device, and the compression and storage occurs faster than the
           first and second data blocks are able to be stored on the memory device
           in uncompressed form.


U.S. Patent No. 9,667,751

     1.    A method for compressing data comprising:

           analyzing content of a data block to identify a parameter, attribute, or
           value of the data block that excludes analyzing based solely on reading
           a descriptor;

           selecting an encoder associated with the identified parameter, attribute,
           or value;

           compressing data in the data block with the selected encoder to produce
           a compressed data block, wherein the compressing includes utilizing a
           state machine; and

           storing the compressed data block;

           wherein the time of compressing the data block and the storing the
           compressed data block is less than the time of storing the data block in
           uncompressed form.



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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Fortinet, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Fortinet, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
      appearance in this case) are:

            John Neukom, Douglas Nemec, James Pak, Christopher McKinley of
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            Jack Blumenfield, Brian Egan and Jeffrey Lyons of Morris, Nichols,
            Arsht & Tunnell LLP

5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


DATED: March 11, 2022                  By:     /s/ John M. Neukom
                                               John M. Neukom
                                         iii
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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Reduxio Systems, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Reduxio Systems, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Reduxio Systems, LTD.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
      appearance in this case) are:

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            Andrew C. Mayo of Ashby & Geddes, P.A.

5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.

DATED: March 11, 2022                  By:    /s/ Guy Yonay
                                              Guy Yonay



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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Quest Software Inc. certifies the following:

1.    The full name of the party represented by us is:

            Quest Software Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Seahawk Holding (Cayman) Limited.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
      appearance in this case) are:

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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


DATED: March 11, 2022                  By:   /s/ Theodore J. Angelis
                                             Theodore J. Angelis




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                       CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee CTERA Networks, LTD. certifies the following:

1.   The full name of the party represented by us is:

           CTERA Networks, LTD.

2.   The name of the real parties in interest represented by us:

           Not applicable.

3.   All parent corporations and publicly held companies that own 10 percent or
     more of the stock of the party represented by us are as follows:

           Not applicable.

4.   The names of all law firms and the partners or associates that appeared for the
     party or amicus now represented by me in the trial court or agency or are
     expected to appear in this court (and who have not or will not enter an
     appearance in this case) are:

           Kyle Auteri of Pearl Cohen Zedek Latzer Baratz LLP

           Andrew C. Mayo of Ashby & Geddes, P.A.

5.   The title and number of any case known to counsel to be pending in this or
     any other court or agency that will directly affect or be directly affected by
     this court’s decision in the pending appeal are:

           None

6.   Information required under Fed. R. App. P. 26.1(b) (organizational victims in
     criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

           Not applicable


DATED: March 11, 2022                 By:    /s/ Guy Yonay
                                             Guy Yonay



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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Aryaka Networks, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Aryaka Networks, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
      appearance in this case) are:

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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

          Realtime Data LLC d/b/a IXO v. Acronis, Inc., United States District
           Court for the District of Massachusetts, Case No. 1:17-cv-11279-IT
          Realtime Data LLC v. Carbonite, Inc. et al, United States District Court
           for the District of Massachusetts, Case No. 1:17-cv-12499-IT
          Realtime Data LLC v. Veritas Technologies LLC, et al, United States
           District Court for the Northern District of California, Case No. 3:18-
           cv-06029-SI
          Realtime Data LLC v. Fujitsu America, Inc. et al, United States District
           Court for the Northern District of California, Case No. 3:17-cv-02109-
           SK



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6.   Information required under Fed. R. App. P. 26.1(b) (organizational victims in
     criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

           Not applicable.


DATED: March 11, 2022                 By:     /s/ Joshua M. Masur
                                              Joshua M. Masur




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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Open Text, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Open Text, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Open Text Corporation

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable
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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee MongoDB Inc. certifies the following:

1.    The full name of the party represented by us is:

            MongoDB Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Egnyte, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Egnyte, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
      appearance in this case) are:

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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


DATED: March 11, 2022                  By:     /s/ Christopher R. Kinkade
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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Panzura, Inc. certifies the following:

1.    The full name of the party represented by us is:

            Panzura, Inc.

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
      party or amicus now represented by me in the trial court or agency or are
      expected to appear in this court (and who have not or will not enter an
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5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

            None

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


DATED: March 11, 2022                  By:     /s/ M. Michelle Rohani
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                        CERTIFICATE OF INTEREST

Counsel for Defendant-Appellee Spectra Logic Corporation certifies the following:

1.    The full name of the party represented by us is:

            Spectra Logic Corporation

2.    The name of the real parties in interest represented by us:

            Not applicable.

3.    All parent corporations and publicly held companies that own 10 percent or
      more of the stock of the party represented by us are as follows:

            Not applicable.

4.    The names of all law firms and the partners or associates that appeared for the
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            David E. Moore, Alan R. Silverstein, Bindu A. Palapura, and Stephanie
            E. O’Byrne of Potter Anderson & Corroon, LLP

5.    The title and number of any case known to counsel to be pending in this or
      any other court or agency that will directly affect or be directly affected by
      this court’s decision in the pending appeal are:

          Realtime Data LLC. v. Array Networks Inc., United States Court of
           Appeals for the Federal Circuit, Appeal No. 2021-2251

6.    Information required under Fed. R. App. P. 26.1(b) (organizational victims in
      criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

            Not applicable.


DATED: March 11, 2022                  By:    /s/ Robert E. Purcell
                                              Robert E. Purcell
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                      STATEMENT OF RELATED CASES

      An appeal in this same action was previously before this Court in Realtime

Data LLC v. Reduxio Systems, Inc. et al., CAFC Nos. 2019-2198, 2019-2201, 2019-

2202, 2019-2204. Judges Newman, O’Malley, and Taranto were on the panel. The

Court issued its decision on October 23, 2020, and the decision can be found in the

Federal Reporter at 831 F. App’x 492.

      The cases collectively known to counsel for Defendants-Appellees to be

pending in this or any other court that will directly affect or be directly affected by

this Court’s decision in this pending appeal are:

      •      Realtime Data, LLC v. Acronis, Inc.,
             D. Mass. Case No. 1:17-cv-012279-IT

      •      Realtime Data, LLC v. Carbonite, Inc.,
             D. Mass. Case No. 1:17-cv-12499-IT

      •      Realtime Data, LLC v. Fujitsu America, Inc.,
             N.D. Cal. Case No. 3:17-cv-02109-SK

      •      Realtime Data, LLC v. Veritas Technologies,
             LLC, N.D. Cal. Case No. 3:18-cv-06029-SI




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                                INTRODUCTION

       Three times, the District Court considered whether patents asserted by

Realtime Data, LLC (“Realtime”) are eligible for protection under 35 U.S.C. § 101.1

Three times, the District Court concluded they are not. It did not err in doing so.

The District Court simply applied established law to indisputable facts.

       Before applying the Alice Corporation Pty. Ltd. v. CLS Bank International,

573 U.S. 208 (2014) (“Alice”) two-step framework, the District Court specifically

considered whether patent eligibility could be resolved at the pleading stage. Noting

that Realtime’s own patents confirm that the claimed technologies and methods were

well-known and routine, the District Court proceeded to address patent eligibility

using Realtime’s own claim constructions.

       At Alice step one, the District Court correctly found that Realtime’s patents

are directed to abstract ideas—such as analyzing, processing, manipulating, storing,

and outputting data—that this Court has long found ineligible for patent protection.

       Turning to Alice step two, the District Court properly considered the ordered

combination of claim limitations, noting that the abstract ideas are implemented with




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    Realtime alleges that Defendants-Appellees infringe one or more patents from
    each of three patent families: U.S. Patent Nos. 9,054,728; 8,717,203; and
    8,933,825 (Data Compression Patents); U.S. Patent Nos. 9,116,908; 7,415,530;
    and 10,019,458 (Accelerated Data Storage and Retrieval Patents); and U.S.
    Patent No. 9,667,751 (Data Feed Acceleration Patent).
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computer components and processes already known in the art—a fact conceded in

the patent specifications. Thus, although written in technical jargon, the claims fail

to offer innovative technological solutions or even new techniques for well-known

concepts. In other words, the patent claims lack an inventive concept to establish

patent eligibility at step two.

      Having thoroughly considered patent eligibility—at the outset of the case,

following this Court’s remand for reconsideration, and after Realtime amended its

complaints—the District Court addressed the same arguments that Realtime now

raises on appeal. For the same reasons the District Court rejected them below, so

too should this Court on appeal.

      Despite its thorough step one “directed to” analysis, Realtime argues that the

District Court ignored claim limitations. See Br. at 12. The record shows otherwise.

The District Court carefully distinguished between independent and dependent

claims and specifically addressed additional limitations in the latter. See Appx19-

20.

      Realtime also argues that, at step one, the District Court oversimplified the

patents. Br. at 12. Again, the record refutes the argument. In fact, the District Court

addressed this very point. Noting that patents must not be oversimplified, the court

explained that Realtime’s patents are written at a high level of generality and that

Realtime’s own descriptions of its patents largely mirrored the District Court’s


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descriptions. See Appx46. Indeed, the District Court applied “Realtime’s own

characterization of the asserted patents” and still found them directed to abstract

ideas. Id.

         As for the District Court’s step two analysis, Realtime complains that it

improperly focused on the use of known computer components, failed to consider

claim limitations as an ordered combination, and improperly resolved factual issues.

Br. at 12-13. Again, the record refutes these three assertions.

         First, although the District Court did observe that the claimed methods can be

implemented with known technology, it did so in response to Realtime’s far-fetched

argument that its patents improve the function of “computer parts themselves.”

Appx26-27. Moreover, the District Court’s apt observation that some of the patents

do not “even require physical components” (Appx28) makes clear that its analysis

did not turn on or unduly emphasize the use of known computer technology.

         Second, the District Court made clear—explicitly and repeatedly—that it

considered claim limitations “as an ordered combination.”              Appx25; Appx28;

Appx55. Lastly, the District Court rested its step two conclusion on facts conceded

by the patents themselves, intrinsic evidence properly considered at the pleading

stage.

         Unable to tie its legal arguments to the record, Realtime retreats to its familiar

refrain—other judges were right and the District Court was wrong. But, as the


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District Court noted, in the six-plus years since Judge Love’s first report and

recommendation in 2015, see Appx7504, this Court’s § 101 jurisprudence—

particularly with respect to patents claiming data activities—has substantially

developed.

      Realtime levels many unfounded accusations against the District Court. But

it never fully addresses the key salient point—that Realtime’s patents do not claim

anything more than abstract ideas implemented using well-known data compression

techniques and generic computer technology.

      The District Court did not err in finding Realtime’s patents ineligible for

protection under § 101 and its judgment should be affirmed.

                   STATEMENT OF ISSUES ON REVIEW

      This appeal presents the following issues for review by this Court:

      1.     At Alice step one, did the District Court correctly conclude that

Realtime’s patents—claiming steps such as analyzing, processing, manipulating,

storing, and outputting data—are directed to abstract ideas?

      2.     At Alice step two, did the District Court correctly conclude that the

limitations in Realtime’s patents—individually or as an ordered combination—do

not supply an inventive concept beyond the abstract ideas themselves?




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      3.     Where the District Court reached its Alice step one and two conclusions

based on disclosures in the patents and applying Realtime’s own claim constructions,

did the District Court correctly dismiss Realtime’s claims as a matter of law?

                           STATEMENT OF THE CASE

I.    The Patents-In-Suit

      There are seven patents at issue: U.S. Patent Nos. 9,054,728 (the “’728

Patent”); 8,717,203 (the “’203 Patent”); 8,933,825 (the “’825 Patent”); 9,116,908

(the “’908 Patent”); 7,415,530 (the “’530 Patent”); 10,019,458 (the “’458 Patent”);

and 9,667,751 (the “’751 Patent”) (collectively, the “Patents-in-Suit”).

      The Patents-in-Suit are directed to abstract methods of information

processing—analyzing, processing, manipulating, storing, and outputting data. The

’728, ’203, and ’825 Patents describe the concept of compressing or decompressing

data using a compression or decompression method that is based on the underlying

type of data. The ’908, ’530, and ’458 Patents describe the concept of using two or

more compression techniques to compress and store data “faster” than it would be

stored in uncompressed form. The ’751 Patent describes the concepts of the two

previous sets combined: (i) compressing data using a compression method that is

dependent on the underlying data type, and (ii) thereafter using two or more

compression techniques to compress and store data “faster” than it would be stored

in uncompressed form.


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      A.     The Data Compression Patents

      The first family includes three asserted patents (the ’728, ’203, and ’825

Patents) entitled “Data Compression Systems and Methods.” These patents, which

share a common specification, purport to resolve “the problem of ‘data dependency’

in prior art [compression] systems.         ‘Data dependency’ is ‘content sensitive

behavior’ that means ‘the compression ratio achieved is highly contingent upon the

content of the data being compressed.’” Realtime Data LLC v. Reduxio Sys., Inc.,

831 F. App’x 492, 493 (Fed. Cir. 2020) (nonprecedential) (citing the ’728 Patent,

col. 2, ll. 29-35). To avoid problems associated with data dependency and improve

efficacy, the Data Compression Patents describe “a system for data compression that

looks beyond the file type descriptor [e.g., .doc, .txt, or .pdf], to the underlying data,

to complete the desired compression.” Id. at 493-94 (citing col. 3, l. 59-col. 5, l. 11).

      The ’728 Patent

      The ’728 Patent focuses on “determining the optimal compression technique

for a given set of input data and intended application.” Appx333 at 2:66-67. Claim

25 of the ’728 Patent is representative. See Appx346 at 28:31-51. The specification

states that incoming data is analyzed to identify “parameters that may be indicative

of either the data type/content of a given data block or the appropriate data

compression algorithm or algorithms” to apply. Appx340 at 16:22-28. If the data

type is recognized, the data is routed to a “content dependent encoder module”; if


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not, the data goes to a “content independent encoder module.” Appx340 at 16:31-

34.   Both the “content dependent encoder module” and “content independent

encoder module” may include “any number” of lossless or lossy encoding

techniques “currently well known within the art.” Appx340 at 16:37-44; id. at

16:50-57.

      Claim 25 fails to specify the type of compression to be performed. The claim

does not define the structure of the encoders, and the specification merely treats the

encoders as generic components. See, e.g., Appx306 (depicting “Encoder E1 ... En”

boxes within encoder module 30); Appx335 at 6:30-32 (“[T]he present invention

may be implemented in various forms of hardware, software, firmware, or a

combination thereof.”). That is because any type of compression can be used. See

Appx336 at 7:11-22 (“any number ... of ... encoding techniques currently well known

within the art ... to provide a broad coverage of existing and future data types”).

      The ’203 Patent

      The ’203 Patent is the decompression counterpart to the ’728 Patent. It

focuses on using a plurality of decompression techniques “to reduce the data

decoding time.” Appx417 at 15:8-10. Claim 14 of the ’203 Patent is representative.

See Appx423 at 27:65-28:37.        Claim 14 requires the analysis of unspecified

characteristics of the data to determine the appropriate decompression technique and

results in the output of decompressed data. See id. Like claim 25 of the ’728 Patent,


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this claim also fails to specify the type of decompression to be performed. The

specification does not limit what the “data decompression engine” encompasses or

includes. Instead, the specification notes that “[t]he decoders D1 ... Dn may include

those lossless encoding techniques currently well known within the art[.]”

Appx416-417 at 14:66-15:3. It also states that “pars[ing], lexically, syntactically, or

otherwise analyz[ing] the input data block” can be performed “using methods known

by those skilled in the art to extract the data compression type descriptor associated

with the data block.” Appx416 at 14:52-57.

      The ’825 Patent

      The ’825 Patent, like the ’728 Patent, is focused on the compression of data

based on its content. Claim 18 of the ‘825 Patent is representative. See Appx501 at

27:19-42. Claim 18 describes a method where (i) at least one encoder is associated

with unspecified parameters or attributes of the data, (ii) the presence or absence of

the unspecified parameters or attributes is identified, and (iii) the encoder is used to

compress the data. See id. Although claim 18 of the ’825 Patent is a method claim,

it is analogous to the representative claim in the ’728 Patent. Moreover, because the

’825 Patent shares a specification with the ’728 and ’203 Patents, it suffers from the

same shortcomings as those identified above.

      Each of the methods claimed in the ’728, ’203 and ’825 Patents may be

“implemented in various forms of hardware, software, firmware, or a combination


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thereof … preferably … [on] a general purpose computer or any machine or device

having any suitable and preferred microprocessor architecture.” Appx335 at 6:30-

37; Appx412 at 6:24-31; Appx490 at 6:24-31.

      B.    The Accelerated Data Storage And Retrieval Patents

      The second family includes three asserted patents (the ’908, ’530, and ’458

Patents), entitled “System and Methods for Accelerated Data Storage and Retrieval.”

The patents, which share a common specification, disclose using “lossless data

compression and decompression.”       Appx176 at 4:42-44; Appx112 at 4:42-44;

Appx259 at 4:45-47.

      The ’908 Patent

      Claim 1 is representative of the ’908 Patent. See Appx183 at 18:50-62. Claim

1 is directed to a system that includes memory and a data accelerator that (i)

compresses two data blocks using different compression techniques; (ii) stores the

blocks; and (iii) does this compression and storage “faster” than it could store the

uncompressed blocks. See id.

      Claim 1 of the ’908 Patent does not disclose any specific compression

techniques, nor does the specification. The specification discloses that “the data

storage accelerator ... employs ... any conventional data compression method

suitable for compressing data at a rate necessary for obtaining accelerated data

storage” (Appx182 at 16:49-54; see Appx180 at 11:31-36), and that “the data


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compression ratio of the data storage accelerator ... may be adjusted by applying a

different type of encoding process such as employing a single encoder, multiple

parallel or sequential encoders, or any combination thereof” (Appx179 at 10:6-10).

It also states that “[d]ata compression is performed by an encoder module ... which

may comprise a set of encoders ... [that] may include any number ... of those lossless

techniques currently well known within the art[.]”         Appx180 at 11:66-12:5.

Moreover, the claimed invention “may be implemented in various forms of

hardware, software, firmware, or a combination thereof.” Appx176 at 4:47-50.

      Claim 1 and the ’908 Patent’s specification also does not specify how the

claimed “faster” results are achieved. The specification simply states that a “data

storage accelerator includes one or a plurality of high speed data compression

encoders that are configured to simultaneously or sequentially losslessly compress

data at a rate equivalent to or faster than the transmission rate of an input data

stream.”   Appx176-177 at 4:64-5:1.       The ’908 Patent does not provide any

meaningful details concerning the high-speed compression encoders, nor does it

explain how they are configured to compress data “faster.”

      The ’530 Patent

      Claim 1 of the ’530 Patent is representative of the patent and analogous to

claim 1 of the ’908 Patent, with one addition: it recites storing a compression

technique “descriptor” and using that descriptor to decompress the data.          See


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Appx119 at 18:24-42. But attaching a descriptor to an encoded data block is a well-

known technique—as the specification explains, the system “analyzes the input data

block using methods known by those skilled in the art to extract the data compression

type descriptor associated with the data block.” Appx117 at 14:5-15. In addition,

because the ’530 Patent shares a specification with the ‘908 Patent, it also fails to

adequately disclose any specific compression techniques or any additional detail as

to how the claimed “faster” results are achieved.

      The ’458 Patent

      Claim 9 is representative of the ’458 Patent and analogous to the

representative claims of the ’908 and ’530 Patents, save for the fact that claim 9 is a

method claim that requires the analysis of each data block and use of lossless

compression techniques. See Appx267 at 19:63-20:14. The ’458 Patent and its

specification has the same deficiencies as those associated with the ’908 and ’530

Patents.

      C.     The Data Feed Acceleration Patent

      The ’751 Patent

      From a third family, Realtime asserts just one patent (the ’751 Patent) entitled

“Data Feed Acceleration” that combines the concepts of the previous patents. It is

focused on “providing accelerated transmission of data ... over a communication

channel using data compression and decompression[.]” Appx551 at 1:25-36. Claim


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1 of the ’751 Patent is representative. See Appx562 at 23:45-57. Claim 1 recites the

steps of (i) identifying a “parameter, attribute, or value” of data; (ii) selecting an

encoder based on that parameter; (iii) compressing the data at a certain rate; (iv)

storing the data; and (v) doing this compression/transmission in less time than it

could have for uncompressed data. See id.

      Claim 1 of the ’751 Patent does nothing more than state the result to be

achieved: “compressing the data block and the storing the compressed data block”

in “less than the time of storing the data block in the uncompressed form.” Id. at

23:55-57. The specification notes unhelpfully that “accelerated” transmission is “a

process of receiving a data stream for transmission over a communication channel,

compressing the broadcast data ... at a compression rate that increases the effective

bandwidth of the communication channel, and transmitting the compressed

broadcast data over the communication channel.” Appx553 at 6:28-36.

      The ’751 Patent claims the use of a state machine during compression. But

the state machine is described as “either part of the hardware, microinstruction code

or application programs that are executed via the operating system, or any

combination thereof.” Appx554 at 8:13-17. More importantly, the state machine is

not a meaningful limitation to the ’751 Patent. Instead, it “comprises a set of

compression tables that comprise information for encoding the next character”

(Appx555 at 9:11-13), and is implemented using “[g]eneral purpose computers,


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servers, workstations, personal digital assistants, special purpose microprocessors,

dedicated hardware, or and [sic] combination thereof” (Appx554 at 8:23-25).

Furthermore, the specification states that, in preferred embodiments, compression is

achieved using well-known, conventional algorithms. Appx555 at 9:6-10.

II.   The District Court’s Prior Patent Eligibility Determinations

      Realtime asserted a combination of the Patents-in-Suit against each of the

Defendants-Appellees. In the course of two related actions, the District Court has

addressed Realtime’s patents three times, finding each time that they are invalid.

      First, in an oral decision following lengthy argument on motions to dismiss,

the District Court found the ’203, ’728, ’530, ’908, and ’751 Patents ineligible. See

Appx4938-4939. At Alice step one, the District Court found the claims directed to

abstract ideas because they “lack a specific means or method that improves the

relevant technology and instead merely invoke generic processes and machinery to

achieve a desired result, that being the more efficient storage and transmission of

digital data.” Appx4935 at 45:12-20 (citing McRo, Inc. v. Bandai Namco Games

Am. Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016)). At Alice step two, the District

Court found the claim limitations—both individually and as an ordered

combination—lack an inventive concept. See Appx4938 at 48:19-25; Appx4924 at

34:2-10.




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      Realtime appealed. On appeal, this Court found that it was not able to

meaningfully review the District Court’s decision and remanded the case so that the

District Court could “give additional consideration to the eligibility question and

elaborate on its reasoning.” Appx8209. The Court made clear that “[n]othing in

[its] opinion should be read as opining on the relative merits of the parties’

arguments or the proper resolution of the case.” Appx8219.

      On remand, the District Court once again found Realtime’s patents invalid.

See Realtime Data LLC v. Array Networks Inc., 537 F. Supp. 3d 591, 621 (D. Del.

2021); see also Appx56.      Its decision began with an analysis of the patents,

separately applying Alice steps one and two to each patent. Appx18-43. It then

summarized and specifically addressed Realtime’s arguments. Appx44-55. In

rejecting Realtime’s argument that the patents “provide particular technological

solutions to overcome technological problems specific to the field of data

compression,” the District Court noted that the patents simply disclose the benefits

of data compression, rather than how to engineer an improved system. Appx44-47.

      The District Court also identified “paradigmatic examples of results-based

claiming” found in the faster speed and compression ratio limitations of the ’530,

’908, ’751, and ’458 Patents. Appx49. It remarked that “[w]hile it might be the case

that the patents’ claims describe systems and methods that are useful when applied

on computers, that fact does not by itself make the claims patent eligible.” Id. The


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District Court acknowledged that while it must be careful not to oversimplify, the

Patents-in-Suit are “written at a high level of generality” and “Realtime’s own

descriptions of the patents are substantially similar to the abstract ideas” identified

by the District Court. Appx46.

      With respect to step two, the District Court found the patents “simply apply

an abstract idea on generic computers with generic techniques” which “is not enough

to transform the claimed idea into a patent-eligible invention.” Appx44. The District

Court rejected Realtime’s argument that the combination of the elements of the

claims are unconventional, stating “simply combining understood steps and generic

hardware in a logical, straightforward sequence in order to implement an abstract

idea does not provide an ‘inventive concept.’” Appx55.

      Ultimately, the District Court found “the asserted patents are nothing ‘more

than a drafting effort designed to monopolize’ abstract ideas for data compression.”

Appx56 (quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66,

77 (2012)). However, the District Court permitted Realtime to amend its complaints,

which it did. See Appx67.

      Realtime’s new complaints (i) added lengthy quotes from the patent

specifications and decisions of other judges (see Appx76-77); (ii) added claim

constructions that would not change the outcome of the Alice inquiry (see Appx74-

75); and (iii) even added allegations regarding unrelated patents not at issue (see


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Appx77).    Served with amended complaints that largely padded the original

complaints with irrelevant allegations and legal conclusions, Defendants-Appellees

again moved to dismiss.

      In August 2021, the District Court, in another opinion, found all claims were

invalid. Appx84. The District Court explained, “[t]he unavoidable problem for

Realtime is that data compression by itself is a type of information processing and

information processing, without more, is patent-ineligible subject matter. The

asserted patents do not have something ‘more.’” Appx80. The patents lack this

something more, in part, because the “claims do not identify specific techniques that

provide a technical solution.” Id. The District Court also addressed Realtime’s

additional arguments asserted in its amended pleadings and briefing, and the District

Court revisited its detailed discussion of the claims from its prior order. Appx73-

84. The District Court ultimately concluded:

      The patentee had ideas about data compression, but rather than claim
      specific implementations of those ideas or provide new techniques to
      achieve the claimed results, the patentee sought and received claims on
      the ideas themselves. The patents claim abstract ideas without teaching
      how to implement those ideas. This is what § 101 jurisprudence
      prohibits.

Appx84.

                      SUMMARY OF THE ARGUMENT

      The claims of the Patents-in-Suit fail both steps of the Alice analysis. First,

the claims as a whole are directed to abstract ideas involving data compression—
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namely, analyzing, processing, manipulating, storing, and outputting data. These

are the types of generalized concepts that this Court has previously found to be

ineligible. See, e.g., Electric Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353-

54 (Fed. Cir. 2016) (stating that collecting information, analyzing that information

by steps people go through in their minds or by mathematical algorithms, and merely

presenting the results were examples of abstract ideas); Voit Techs v. Del-Ton, Inc.,

757 F. App’x 1000, 1002 (Fed. Cir. 2019) (nonprecedential) (holding claims “are

directed to the abstract idea of entering, transmitting, locating, compressing, storing,

and displaying data (including text and image data) to facilitate the buying and

selling of items.”). The fact that Realtime’s patents address the compression of

digital data, a point it emphasizes, does not make its patents any less abstract.

      Moreover, the Patents-in-Suit do not improve computer functionality. Rather,

the claims are directed to abstract ideas for which computers are merely invoked as

a tool. Realtime argues the claimed inventions are “necessarily rooted in computer

technology.” Br. at 46. This argument is incorrect, as data compression has long

occurred outside of the computer context. See Appx51 (tracing “long history” of

compression in contexts that do not require computers); RecogniCorp, LLC v.

Nintendo Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (finding claimed method

“reflect[ed] standard encoding and decoding, an abstract concept long utilized to

transmit information”). It is also irrelevant, as “invocation of a computer does not


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necessarily transform an abstract idea into a patent-eligible invention.” Customedia

Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1362 (Fed. Cir. 2020).

      The Patents-in-Suit do not claim or teach “specific techniques” that purport to

improve computer functionality, as Realtime argues. See Br. at 47. Instead, the

claims and specifications describe generic and well-known components, such as

encoders and a state machine, which are utilized to carry out abstract ideas on general

purpose computers. See Appx336 at 7:13-22 (“encoder set ... may include any

number ‘n’ of those lossless encoding techniques currently well known within the

art”); Appx335 at 6:30-37 (“present invention may be implemented in various forms

of hardware, software, firmware, or combination thereof ... preferably implemented

in software as an application program that is executable by, e.g., a general purpose

computer”); Appx4921 at 31:19-20 (acknowledging “state machines are well-known

computer components”). But “an abstract idea for which computers are invoked

merely as a tool” remains merely an abstract idea. Customedia Techs., 951 F.3d at

1363 (quoting Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1259–60 (Fed.

Cir. 2017)).

      While Realtime argues the District Court did not analyze the claims as a whole

(see Br. at 51), the record shows otherwise. The District Court carefully reviewed

the claims and limitations, including those identified by Realtime. See, e.g., Appx19

(encoder associated with parameters that compress data based on the attributes of


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the data itself, rather than just a descriptor); Appx19-20 (token for identifying the

compression technique used); Appx34-36 (data accelerator, file descriptor, memory

device, and encoders); Appx39-40 (state machine). In doing so, the District Court

correctly found that “[t]his is a case where although written in technical jargon, a

close analysis of the claims reveals that they require nothing more than ... abstract

ideas[.]” Appx71-72 (internal quotations and citation omitted).

      The Patents-in-Suit also fail Alice step two. Beyond the abstract ideas claimed

in Realtime’s patents, the patents merely claim generic computer components which

are “insufficient to add an inventive concept to an otherwise abstract idea.” In re

TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 614 (Fed. Cir. 2016). Indeed, the

only tangible elements are generic computer elements utilized in a generic,

conventional way. Nor do the claims provide an inventive concept by resolving

known prior art problems.

      The District Court gave Realtime the chance to amend its complaints and

explain how its patents claim anything other than abstract ideas using well-known,

routine, and conventional technology. But it could not do so. Instead, it urged the

District Court to simply acquiesce in the conclusions reached by other judges many

years ago. That the District Court instead independently analyzed Realtime’s patents

three times and reached a different conclusion does not constitute legal error. See

Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011). Further, Realtime’s argument


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that the District Court improperly identified representative claims for each of the

Patents-in-Suit is unavailing. Case precedent (and common sense) supports the use

of representative claims, especially where hundreds of claims are at issue.2 See

Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d

1343, 1348 (Fed. Cir. 2014).

        Lastly, because the District Court based its findings on disclosures in the

patents themselves (without resolving factual disputes) and applied Realtime’s own

claim constructions, it did not err in resolving patent eligibility at the pleading stage.

                                    ARGUMENT

I.      The Patents-In-Suit Are Directed To An Abstract Idea And Lack An
        Inventive Concept

        “Laws of nature, natural phenomena, and abstract ideas” are not patentable

because they represent “the basic tools of scientific and technological work.” Mayo

Collaborative Servs., 566 U.S. at 70-71 (citation omitted).

        In Alice, the Supreme Court set out a two-step test for “distinguishing patents

that claim laws of nature, natural phenomena, and abstract ideas from those that

claim patent-eligible applications of those concepts.” 573 U.S. at 217. First, the

court asks whether the claims are directed to a patent-ineligible concept, such as an



2
     Notably, Realtime has not made any attempt to analyze each of the Patents-in-
     Suit on a claim-by-claim basis, despite claiming that doing so would have
     somehow changed the analysis. See Br. at 51, 56.

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abstract idea. Id. Second, the court must decide whether the claims add an

“inventive concept”—“an element or combination of elements that is sufficient to

ensure that the patent in practice amounts to significantly more than a patent upon

the [ineligible concept] itself.” Id. at 217-18 (final alteration in original) (citation

omitted).

       For Alice purposes, the District Court analyzed a representative claim for each

of the Patents-in-Suit. Claim 25 of the ’728 Patent, claim 14 of the ’203 Patent,

claim 18 of the ’825 Patent, claim 1 of the ’908 Patent, claim 1 of the ’530 Patent,

claim 9 of the ’458 Patent, and claim 1 of the ’751 Patent are representative.3

       It is now well established that, in many instances, district courts may resolve

patent eligibility under § 101 at the pleading stage. See, e.g.¸ FairWarning IP, LLC

v. Iatric Sys., Inc., 839 F.3d 1089, 1097 (Fed. Cir. 2016). In this case, it was

appropriate to adjudicate patent eligibility at the outset. No claim construction

disputes precluded resolution of the issue as a matter of law. Indeed, the District

Court accepted Realtime’s proposed constructions in finding the patents invalid.




3
    In the previous appeal, Defendants relied on the same representative claims
    except for the ’728 and ’751 Patents, for which they asserted that claims 1 and
    25, respectively, were representative. The District Court concluded that the
    claims were equivalent for purposes of § 101 and only differed in form. See
    Appx29, Appx39.

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See, e.g., Appx16 (accepting that Realtime’s claims are directed to compression of

digital data).

       Additionally, the district court did not resolve any factual disputes in

adjudicating patent eligibility. Nor did it need to—Realtime’s own patents make

clear that the abstract ideas in the claims are implemented with well-known,

conventional computer technology. See infra at § I(B)(1).

       A.        The Claims Of The Patents-In-Suit Fail Alice Step One Because
                 They Are Directed To An Abstract Idea

       At step one of the Alice analysis, courts look to the “focus” and “character”

of a claim as a whole to determine if it is directed to an abstract idea. Electric Power

Grp., 830 F.3d at 1353; Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253,

1257 (Fed. Cir. 2016).        Here, the claims of the Patents-in-Suit describe the

compression of data and combinations of (i) analyzing data without relying only on

a descriptor; (ii) using two or more encoders; (iii) using a token identifier; (iv)

compressing and storing data “faster”; and (v) using a state machine.

       The District Court properly and repeatedly concluded in two separate rulings

that the claims of the Patents-in-Suit are directed to abstract ideas. Specifically, the

District Court found that the ’728 and ’825 Patents are “directed to the abstract idea

of compressing data based on the content of the data”; the ’203 Patent is “directed

to the abstract idea of compressing or decompressing data based on the

characteristics of the data where a token is used to signify the compression method

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used”; the ’530 and ’908 Patents are “directed to the combination of the abstract idea

of compressing two different data blocks with different methods and the logical

condition that compression and storage together are faster than storage of the

uncompressed data alone”; the ’458 Patent is “directed to the abstract idea of

compressing data using two distinct lossless compression algorithms such that the

time to compress and store the first data block is less than the time to store the

uncompressed data block”; and the ’751 Patent is “directed to the abstract idea of

compressing data with a state machine under conditions where compressing and

storing the data is faster than storing the uncompressed data and where the

compression method applied to the data is based on the content of the data.”

Appx66-67.

             1.     Realtime’s Patent Claims Do Not Focus On A Specific
                    Asserted Improvement In Computer Capabilities and
                    Merely Invoke Computers As A Tool

      In cases involving software innovations, the inquiry at step one “asks whether

the focus of the claims is on the specific asserted improvement in computer

capabilities … or, instead, on a process that qualifies as an ‘abstract idea’ for which

computers are invoked merely as a tool.” Enfish, LLC v. Microsoft Corp., 822 F.3d

1327, 1335-36 (Fed. Cir. 2016).

      As Realtime acknowledges, this step often involves two inquiries: “‘(1)

whether the focus of the claimed advance is on a solution to “a problem specifically


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arising in the realm of computer networks” or computers,’ and (2) ‘whether the claim

is properly characterized as identifying a “specific” improvement in computer

capabilities or network functionality, rather than only claiming a desirable result or

function.’” Br. at 44 (citing TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1293 (Fed.

Cir. 2020)).

      As to the first inquiry, the focus of the claimed advance is the compression of

data, as Realtime points out. See Br. at 53 (stating patents assert improvements to

“digital data compression”). But data compression does not specifically arise in the

realm of computers—as the District Court noted, data compression can be achieved

using even pen and paper. See Appx25.

      Realtime repeatedly argues that its inventions are “necessarily rooted in

computer technology” and thus patent eligible because they involve “digital data

compression.” See, e.g., Br. at 46, 48 (emphasis added). However, that simple fact

does not transform abstract ideas into patent-eligible inventions. See Customedia

Techs., 951 F.3d at 1362 (noting “the invocation of a computer does not necessarily

transform an abstract idea into a patent-eligible invention”); Affinity Labs, 838 F.3d

at 1259 (“[M]erely limiting the field of use of the abstract idea to a particular existing

technological environment does not render the claims any less abstract.”). In any

event, Realtime does not meaningfully point to any limitations that identify specific

computer technology or how problems are actually solved by such technology. Cf.


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Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d 1317, 1328 (Fed. Cir.

2020) (finding “asserted claims merely require ‘[a] system for controlling access to

a platform,’ whether mobile, desktop, or otherwise,” and that Plaintiff’s “reference

to a ‘specific, layered software architecture,’ which does not appear in the claims, is

unavailing” (second alteration in original) (citations omitted)), cert. denied, 141 S.

Ct. 2624 (2021).

      As to the second inquiry, the claims of the Patents-in-Suit are not specific

improvements in computer capabilities or network functionality.               While the

specifications of the Patents-in-Suit mention benefits of data compression, the

claims do not recite anything more than basic concepts of compression such as

analyzing, processing, manipulating, storing, and outputting data. Such concepts do

not explain how to accomplish the desired compression and are not specific

techniques that provide a technological solution or improvement. See Free Stream

Media Corp. v. Alphonso Inc., 996 F.3d 1355, 1363-64 (Fed. Cir. 2021) (“[A]sserted

claims do not at all describe how th[e] result is achieved”); Voit Techs., 757 F. App’x

at 1004 (“General statements of ‘advanced image data compression’ or faster

communications will not suffice where it is unclear how the different compression

format claim limitations actually achieve the alleged improvements”); Affinity Labs,

838 F.3d at 1259, 1262; see also Ericsson Inc., 955 F.3d at 1328 (finding a claim

merely making generic functional recitations did not “ha[ve] the specificity required


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to transform a claim from one claiming only a result to one claiming a way of

achieving it” (alteration in original) (citation omitted)); Electric Power Grp., 830

F.3d at 1351 (concluding claims failed at step one because they did not go beyond

requiring the collection, analysis, and display of information in a particular field,

stated in functional, general terms, without limiting them to technical means for

performing the functions).

      The District Court explained that the Patents-in-Suit “do not teach how to

engineer an improved system[,] ... allow the use of any compression method ... [and]

do [not] teach how to achieve the claimed efficiency benefits, beyond directing the

skilled artisan to apply well-known techniques” and that “while the patents do

disclose potential challenges (e.g., the problem of selecting the best compression

method for given data), they do not teach how to address those challenges. Appx45-

46 (emphasis in original). On this point, Realtime argues that its claims teach

“specific techniques” that purport to improve computer functionality but fails to

meaningfully identify such techniques. Br. at 47. Nor can it identify any, because

the specifications of the Patents-in-Suit instruct readers to simply apply known

techniques.

      The claims of the ’728 and ’825 Patents merely state that data compression is

performed after a generic processor analyzes data to identify certain unspecified

parameters or attributes and uses a generic encoder to compress the data based on


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the existence, or non-existence, of these unspecified parameters or attributes.

Appx345 at claim 25; Appx501 at claim 18. Nowhere do the claims—or the

specification—state how that data is to be analyzed or compressed. See, e.g.,

Appx336 at 7:11-22 (noting only that “any number ... of ... encoding techniques

currently well known within the art ... to provide a broad coverage of existing and

future data types” can be used).

      The claims of the ’203 Patent similarly fail to explain how decompression is

accomplished, stating only that a data decompression processor is “configured” to

“analyze” data, “identify[]” an encoder, “decompress[]” data based on its content,

and then “output” the decompressed data. Appx423 at claim 14.

      The claims of the ’908, ’530, ’458, and ’751 Patents also fail to explain how

storage of the compressed data occurs “faster” or in less time, only that it is achieved.

The specifications of the patents do not provide any further guidance.              The

specifications for the ’908 and ’458 Patents only state that the “data storage

accelerator” is “configured to simultaneously or sequentially losslessly compress

data at a rate equivalent to or faster than the transmission rate of an input data

stream.” Appx176-177 at 4:64-5:1; Appx259-260 at 4:67-5:4. The specification for

the ’530 Patent states that the “data storage accelerator ... must be configured to

compress a given input data block at a rate that is equal to or faster than receipt of

the input data.” Appx113 at 5:29-32. This “vague, functional” description of an


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accelerator that predictably does things faster is a hallmark of ineligible abstract

ideas. See In re TLI Commc’ns, 823 F.3d at 615 (“‘[C]ontrol unit’ predictably

‘controls’ various aspects of the claimed functionality”); Intellectual Ventures I LLC

v. Erie Indem. Co., 711 F. App’x 1012, 1017 (Fed. Cir. 2017) (nonprecedential)

(“[S]peed and accuracy increases stem[] from the ordinary capabilities of a general-

purpose computer.”).

      Furthermore, while the specification of the ’751 Patent explains that

acceleration occurs when the “total time for compression, transmission, and

decompression, is less than the total time for transmitting the data in uncompressed

form”, it does not state how to actually achieve a shorter compression, transmission,

and decompression time. See Appx553 at 6:61-65; see also Appx554 at 7:11-14 (“if

the time to compress, transmit, and decompress a data packet is less than the time to

transmit the data in original format, then the delivery of the data is said to be

accelerated”); Appx554 at 7:42-44 (“the latency reduction is the simple arithmetic

difference between the time to transmit the original data minus the total time to

transmit the accelerated data”).

      Because the claims in the ’908, ’530, ’458, and ’751 Patents are “‘directed to

a result or effect that itself is the abstract idea and merely invoke[s] generic processes

and machinery’ rather than ‘a specific means or method that improves the relevant

technology,’” they fail step one of the Alice test. Yu v. Apple Inc., 1 F.4th 1040,


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1043 (Fed. Cir. 2021) (alteration in original), cert. denied, No. 21-811, 2022 WL

515904 (U.S. Feb. 22, 2022) (quoting Smart Sys. Innovations, LLC v. Chi. Transit

Auth., 873 F.3d 1364, 1371 (Fed. Cir. 2017)). As in Yu, the claimed “solution to [the

alleged] problems is the abstract idea itself”—to take data and compress it or

decompress it based on the type of data it is. Id. at 1044. Neither the claims nor the

specifications of the asserted patents contain specific details of any technological

advancements. “[T]he breadth of [the asserted claims] underscores that the focus of

the claimed advance is the abstract idea and not the particular configuration

discussed in the specification that allegedly departs from the prior art.” Id. at 1045.

The generic compression and decompression processes and hardware “merely serve

as a conduit for the abstract idea” of compression and decompression according to

data type. Id. (quoting In re TLI Commc’ns, 823 F.3d at 612).

      Moreover, Realtime’s reliance on SRI International, Inc. v. Cisco Systems,

Inc., 930 F.3d 1295 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 1108 (2020) at step one

is misplaced. See Br. at 41. In SRI, the patent covered a specific technique for

identifying potential intruders in a network, which was “a solution to a computer-

specific problem—uniquely difficult-to-track, large-scale attacks caused by the

decentralized nature of computer networks—and a concrete improvement to

network functionality—the deployment of specific monitors to collect specific types

of data.” TecSec, 978 F.3d at 1293-94 (analyzing SRI, 930 F.3d at 1303).


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      Unlike SRI, no such specific techniques are identified. Moreover, this Court

has emphasized that “claiming the improved speed or efficiency inherent with

applying the abstract idea on a computer,” as is the case here, “[is] insufficient to

render the claims patent eligible as an improvement to computer functionality.”

Customedia Techs., 951 F.3d at 1364 (quoting Intellectual Ventures I LLC v. Cap.

One Bank (USA), 792 F.3d 1363, 1367, 1370 (Fed. Cir. 2015)).

             2.    Realtime’s Patents Claim Generic Computer Elements
                   Utilized In Generic, Conventional Ways

      Trying to depict the claims of the Patents-in-Suit as complex or

unconventional, Realtime identifies elements such as “two digital data-compression

techniques,” “direct examination of the digital-data payload,” “plurality of different

encoders,” “compression descriptor,” and a “state machine,” which are all

purportedly utilized to solve “problems specifically arising in the realm of digital

data compression.” Br. at 46-47, 63. But the specifications reveal that these

elements are simply generic computer elements that perform conventional functions.

      For example, analyzing data without relying only on a descriptor is

accomplished by looking at the data block itself, which can be “parse[d], lexically,

syntactically, or otherwise ... using methods known by those skilled in the art[.]”

Appx494 at 14:52-57; see also Br. at 46 (“requiring a direct examination of the

digital-data payload rather than examining just the descriptor”). The two or more

encoders “may include any ... lossless encoding techniques currently well known

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within the art[.]” Appx336 at 7:11-17; Appx491 at 7:5-11; Appx413 at 7:5-11;

Appx180 at 11:66-12:5; Appx116 at 11:40-46; Appx263 at 12:16-22; Appx558 at

15:23-29. The token identifier is a “descriptor that indicates which data encoding

technique has been applied to the data.” See Appx336 at 8:63-66.

      In addition, compressing and storing data faster can be accomplished using

“any conventional data compression method suitable for compressing data at a rate

necessary for obtaining accelerated data storage.” See, e.g., Appx182 at 16:49-54;

Appx118 at 16:23-28; Appx266 at 17:9-14; Appx554 at 7:17-25 (“the concept of

‘acceleration’ may be applied to the storage and retrieval of data to any memory or

storage device using the compression methods disclosed ... and the storage

acceleration techniques disclosed in the above-incorporated application”).

      And finally, the state machine only requires that “in each state, there is a

compression/decompression      table   comprising       information   on      how   to

encode/decode[.]” See Appx557 at 13:28-33.

      Moreover, the specifications of the Patents-in-Suit concede that these generic

computer elements can be performed using any combination of general purpose

computers. See Appx335 at 6:32-37 (“implemented in software as an application

program that is executable by, e.g., a general purpose computer”); Appx490 at 6:26-

31 (same); Appx412 at 6:26-31 (same); Appx554 at 8:23-26 (“[g]eneral purpose

computers ... may be employed to implement the present invention”); Appx176 at


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4:50-54 (“present invention is implemented on a computer platform”); Appx112 at

4:50-54 (same); Appx259 at 4:53-57 (same). Thus, well-known technology is being

used to carry out the claimed steps.

      In contrast, the cases Realtime relies on are easily distinguishable because

they involve computer elements utilized in unconventional ways. For instance, in

Enfish, the claims were “not simply directed to any form of storing tabular data, but

instead are specifically directed to a self-referential table for a computer database.”

822 F.3d at 1337 (emphasis in original). Furthermore, the specification taught “that

the self-referential table functions differently than conventional database structures.”

Id. Similarly, in Finjan, the claim “employ[ed] a new kind of file that enabl[ed] a

computer security system to do things it could not do before.” Finjan, Inc. v. Blue

Coat Sys., Inc., 879 F.3d 1299, 1305 (Fed. Cir. 2018). And in Koninklijke, the court

found that, similar to the patent in Finjan, the claimed invention was “directed to a

non-abstract improvement because it employ[ed] a new way of generating check

data that enable[d] the detection of persistent systematic errors in data transmissions

that prior art systems were previously not equipped to detect.” Koninklijke KPN

N.V. v. Gemalto M2M Gmbh, 942 F.3d 1143, 1151 (Fed. Cir. 2019).

      In Visual Memory, the case Realtime initially identified as “most analogous

to this one” (Br. at 30), the claims did not merely recite “generalized steps to be

performed on a computer using conventional computer activity.” Visual Memory


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LLC v. NVIDIA Corp., 867 F.3d 1253, 1260 (Fed. Cir. 2017) (citation omitted).

Rather, the claimed “enhanced computer memory system” would change the

performance of the computer memory system through “the use of programmable

operational characteristics that are configurable based on the type of processor.” Id.

at 1259-60. The relevant specification in that case further explained that “[f]or a

system employing a 386 or 386sx system processor, internal cache 16 holds only

code data, whereas for a system employing a 486 processor, internal cache 16 holds

both code and non-code data.” Id. at 1261 (citation omitted). Notably, “[n]one of

the claims recite all types and all forms of categorical data storage.” Id. at 1259

(citation omitted).

      This was also the case in Uniloc USA, Inc. v. LG Elecs. USA, Inc., 957 F.3d

1303 (Fed. Cir. 2020) and DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245

(Fed. Cir. 2014), in which this Court found that the claimed inventions changed the

normal operation of the technology at issue. Specifically, in Uniloc, the result was

a reduction in response time by peripheral devices which were part of the claimed

system. See 957 F.3d at 1308. In DDR Holdings, the claims specified how to

manipulate a computer network system to generate a new hybrid web page after

clicking a hyperlink, which was a departure from the normal, expected result. See

773 F.3d at 1258-59.




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      Unlike the above cases, no such unconventional elements are recited, and the

claims do not improve computer functionality. Instead, the claims of the Patents-in-

Suit are similar to the claims in Yu, which claimed “conventional components

perform only their basic functions” and ultimately created nothing more than “a

generic environment in which to carry out the abstract idea.” 1 F.4th at 1043.

      The claimed invention does not improve the performance of these

conventional components, rather, the specifications assert that a general purpose

computer is all that is required to perform the claims. See Appx335 at 6:30-37

(noting that “the present invention may be implemented in various forms of

hardware, software, firmware, or a combination thereof,” and ultimately the system

may be implemented on “a general purpose computer or any machine or device

having any suitable and preferred microprocessor architecture”); Appx176 at 4:47-

54 (stating that “the present invention may be implemented in various forms of

hardware, software, firmware, or a combination thereof. Preferably ... on a computer

platform including hardware such as one or more central processing units (CPU) or

digital signal processors (DSP), a random access memory (RAM), and input/output

(I/O) interface(s)”); Appx554 at 8:4-10 (same). Courts have repeatedly found that,

in such instances, the inventions are directed towards the use of a computer as a

“tool” to implement an abstract idea. See Customedia Techs., 951 F.3d at 1364 (“[I]t

is not enough … to merely improve a fundamental practice or abstract process by


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invoking a computer merely as a tool”); see also Alice, 573 U.S. at 225 (finding

claimed invention was not patentable where each step did “no more than require a

generic computer to perform generic computer functions”).

             3.     The District Court Conducted A Proper “Directed To”
                    Analysis And Considered Realtime’s Claims As A Whole

      The District Court explicitly considered the claims as a whole. Appx21.

Realtime’s argument that the District Court “impermissibly stripped out key

elements,” “oversimplified the claims,” and “failed to consider the patents’ claimed

advances” (Br. at 51) is without merit and attempts to read in details that nowhere

appear in the specifications, let alone the claims. The District Court made extensive

reference to the claims and limitations, including those Realtime now complains

were purportedly absent from analysis. See, e.g., Appx19 (encoder associated with

particular parameters that compresses data based on the attributes of the data itself,

rather than just a descriptor); Appx19-20 (token for identifying the compression

technique used); Appx34-36 (data accelerator, file descriptor, memory device, and

encoders); Appx39 (use of a state machine).

      After reviewing these limitations, the District Court properly reaffirmed its

prior conclusion:

      Realtime simply provides quotations from the asserted claims and provides
      conclusory assertions that these limitations must be considered separately for
      the purposes of § 101. But Realtime does not explain why these limitations
      are relevant to subject-matter eligibility, and I have already concluded
      otherwise.

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Appx74; see also Ericsson Inc, 955 F.3d at 1326 (“[W]here, as here, the bulk of the

claim provides an abstract idea, and the remaining limitations provide only necessary

antecedent and subsequent components, the claim’s character as a whole is directed

to that abstract idea.”).

       Realtime’s reliance on TecSec in attacking the District Court’s analysis is

misplaced. See Br. at 43-44, 47, 52-53, 55-56. There, the Court identified specific

elements that were missing from the Alice analysis in question, such as an “object-

oriented key manager” that were “part of the focus of the claimed advance.” TecSec,

978 F.3d at 1295.

       Here, however, no specific elements in the patent claims would change the

analysis. The District Court identified and reviewed the limitations of the Patents-

in-Suit (including the limitations that Realtime now identifies, such as the

compression encoder) and determined that they did not change the determination

that the claims were directed to abstract ideas. See Appx74; see also RecogniCorp,

855 F.3d at 1327 (“[P]rocess that start[s] with data, add[s] an algorithm, and end[s]

with a new form of data [is] directed to an abstract idea.”).

       Additionally, TecSec is distinguishable because the characterization of the

representative claims in TecSec was “materially inaccurate.” TecSec, 978 F.3d at

1294; see also Mentone Sols. LLC v. Digi Int’l Inc., Nos. 2021-1202, 2021-1203,

2021 WL 5291802, at *6 (Fed. Cir. Nov. 15, 2021) (nonprecedential) (finding the
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court’s formulation only referred to a “USF” and failed to mention the “shifted USF”

which operated in a way that departed from conventional use).

      Moreover, as the District Court observed, “Realtime’s own descriptions of the

patents are substantially similar to the abstract ideas that [the District Court] f[ou]nd

the patents directed to.” Appx46. For example, Realtime states the “’728, ’203, and

’825 patents ... are directed to systems and methods for data compression using a

combination of content-independent and content-dependent data compression and

decompression.” Br. at 16. The District Court found that the ’728 and ’825 Patents

were “directed to the abstract idea of compressing data based on the content of that

data.” Appx66. While the District Court does not recite Realtime’s formulation

verbatim, the two are essentially the same—compression is “based on the content”

of data, or in other words, “content-independent and content-dependent data

compression” is used. Thus, there can be no serious claim that the characterization

of the focus of these patents is inaccurate, much less materially so.

      Realtime also states, with respect to the ’825 Patent specifically, that the

District Court erred by “analyz[ing] individual steps to determine whether each is

abstract.” Br. at 52. But it was not error for the District Court to point out the

abstract ideas present at each of the individual steps. In fact, this Court previously

found that claims were directed to an abstract idea after engaging in a similar

analysis. See PersonalWeb Techs. LLC v. Google LLC, 8 F.4th 1310, 1317 (Fed.


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Cir. 2021) (“Stringing together the claimed steps by ‘[a]dding one abstract idea ... to

another,’ amounts merely to the abstract idea of using a content-based identifier to

perform an abstract data-management function”) (alterations in original) (citations

omitted).

      In any event, the District Court’s analysis was not limited to looking at each

step individually. Rather, it went on to analyze the ’825 Patent claims as a whole,

even going so far as to point out that the specification of the patent contains a flow

chart that combines the claimed abstract steps. See Appx23.

             4.     Realtime’s Patent Claims Are Directed To Abstract Ideas
                    This Court Has Found To Be Ineligible

      The District Court’s conclusion that the claims are directed to abstract ideas

is supported by this Court’s prior analysis of similar patents. See, e.g., Enfish, 822

F.3d at 1334 (courts generally “compare claims at issue to those claims already

found to be directed to an abstract idea in previous cases”).

      In Voit Techs., the claims were directed to the abstract idea of “entering,

transmitting, locating, compressing, storing, and displaying data (including text and

image data) to facilitate the buying and selling of items.” 757 F. App’x at 1002. The

specification described the limitations as “being directed to using different

compression formats in the claimed network,” but Voit “fail[ed] to explain how

employing different formats, as claimed, improve[d] compression techniques or the

functioning of the computer”; instead, the specification demonstrated that the claims

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were “directed to use of generic computer components performing conventional

compression techniques to carry out the claimed invention.” Id. at 1003.

      Not only do the claims of the Patents-in-Suit recite similar abstract ideas, they

also fail to explain how using different compression formats improves the

functioning of the computer network—only that conventional compression

techniques are used to carry out the claimed invention. See, e.g., Appx336 at 7:11-

17 (describing encoders that use “any” number of lossless encoding techniques

“currently well known within the art”); Appx342 at 19:5-9 (defining data

compression type descriptor as “any recognizable data token or descriptor that

indicates which data encoding technique has been applied to the data”).

      In Electric Power Grp., this Court stated that collecting information,

analyzing that information by mental steps or mathematical algorithms, and merely

presenting the results were all examples of abstract ideas. 830 F.3d at 1353-54.

Thus, the claims in that case were “clearly focused on the combination of those

abstract-idea processes” and the “advance they purport to make is a process of

gathering and analyzing information of a specified content, then displaying the

results, and not any particular assertedly inventive technology for performing those

functions.” Id. at 1354.

      Similarly, in RecogniCorp, this Court found that processing data by encoding

or decoding was “an abstract concept long utilized to transmit information.” 855


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F.3d at 1326. This Court reasoned that “[a] process that started with data, added an

algorithm, and ended with a new form of data was directed to an abstract idea.” 830

F.3d at 1327; see also SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed.

Cir. 2018) (“The focus of the claims ... is on selecting certain information, analyzing

it using mathematical techniques, and reporting or displaying the results of the

analysis. That is all abstract.”). The Court ultimately held that claims that took

displayed images, assigned image codes to the images through an interface using a

mathematical formula, and reproduced the images based on the codes “reflect[ed]

standard encoding and decoding, an abstract concept long utilized to transmit

information.” RecogniCorp, 855 F.3d at 1326 (citing Morse code, ordering food via

a numbering system, and Paul Revere’s “one if by land, two if by sea” signaling

system as examples of the abstract idea of encoding and decoding).

      The claims of the Patents-in-Suit are abstract for the same reason. For

instance, the representative claim of the ’751 Patent describes analyzing content of

a data block, adding an algorithm (i.e., an encoder) to compress the data, and storing

the compressed data in a new form. See Appx562 at 23:45-57.

      The steps of Realtime’s patents—analyzing, processing, manipulating,

storing, and outputting data—have long been performed outside of the computer

context. Realtime’s claims are thus distinguishable from those found to be patent-

eligible in Mentone and Packet Intelligence. In those cases, the claims presented a


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solution to a “challenge unique to computer networks.”          Mentone, 2021 WL

5291802, at *5; Packet Intel. LLC v. NetScout Sys., Inc., 965 F.3d 1299, 1309 (Fed.

Cir. 2020), cert. denied, 141 S. Ct. 2521 (2021). Data compression, however, is not

unique to computer networks, or computers generally, as the District Court

recognized.    Appx51 (“Everyday uses of compression include shorthand,

abbreviations, the repeat symbol in musical notation, and scientific notation.”).

      While not dispositive, Realtime’s claims are also mental processes that “can

be performed in the human mind” or “using a pencil and paper,” which is a “telltale

sign of abstraction.” PersonalWeb Techs., 8 F.4th at 1316 (citations omitted); see

also Electric Power Grp., 830 F.3d at 1354 (“[W]e have treated analyzing

information by steps people go through in their minds, or by mathematical

algorithms, without more, as essentially mental processes within the abstract-idea

category.”) Functions that fall into this category include those found in the claims

at issue here, such as using a content-based identifier, comparing a content-based

identifier against other values, retrieving data, and classifying data.             See

PersonalWeb Techs., 8 F.4th at 1316-17 (collecting cases).

      As this Court found in PersonalWeb Techs., “[s]tringing together the claimed

steps by ‘[a]dding one abstract idea ... to another’ amounts merely to the abstract

idea of using a content-based identifier to perform an abstract data-management

function.” Id. at 1317 (second and third alterations in original) (citations omitted).


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Realtime’s claims, considered as a whole, “are directed to a medley of mental

processes that, taken together, amount only to a multistep mental process.” Id. at

1318. Realtime’s attempts to insert phrases such as “digital data” into the claims

(see, e.g., Br. at 15-16) should be given no credence and, in any event, do not remove

the claims from the realm of abstraction. See Digitech Image Techs., LLC v. Elecs.

for Imaging, Inc., 758 F.3d 1344, 1349-50 (Fed. Cir. 2014) (finding claims to

manipulation of digital data abstract because “[d]ata in its ethereal, non-physical

form is simply information that does not fall under any of the categories of eligible

subject matter”).

      B.     The Claims of the Patents-In-Suit Fail At Alice Step Two Because
             They Lack An Inventive Concept

      Under Alice step two, courts consider “the elements of each claim both

individually and as an ordered combination to determine whether the additional

elements transform the nature of the claim into a patent-eligible application.” Alice,

573 U.S. at 217 (internal quotations and citation omitted). Where the inquiry at step

one involves looking to the focus of the claims as a whole, the inquiry at step two

requires “more precisely [looking] at what the claims add.” Electric Power Grp.,

830 F.3d at 1353. The Supreme Court “ha[s] described step two … as a search for

an inventive concept … that is sufficient to ensure that the patent in practice amounts

to significantly more than a patent upon the [ineligible concept] itself.” Alice, 573

U.S. at 217-18 (alteration in original) (internal quotations and citation omitted). This

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“inventive concept” must be more than “well-understood, routine, or conventional

activit[ies].” Id. at 225 (alteration in original) (internal quotations and citation

omitted).

      In the same vein, “mere recitation of concrete, tangible components is

insufficient to confer patent eligibility to an otherwise abstract idea.” In re TLI

Commc’ns, 823 F.3d at 613. Instead, an inventive concept requires the claims to

“propose a solution or overcome a problem ‘specifically arising in the realm of

computer [technology]’” beyond the “recitation of generic computer limitations.”

FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1097 (Fed. Cir. 2016)

(alteration in original) (citations omitted).     If the claims involve an ordered

combination, they must demonstrate a specific, inventive arrangement of elements.

Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350

(Fed. Cir. 2016).

      As discussed in further detail below, the District Court properly recognized

that the Patents-in-Suit fail under either analysis called for in Alice step two.

             1.     The Claims Of The Patents-In-Suit Recite No Specific
                    Technological Solution Sufficient To Supply An Inventive
                    Concept

      The     Patents-in-Suit    claim     no    specific    technological      solution.

See FairWarning IP, 839 F.3d at 1097. The only tangible elements are generic




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computer elements, such as a processor (e.g., ’728 Patent, claim 25; ’203 Patent,

claim 1), memory (e.g., ‘908 and ‘530 Patents, claim 1), and encoders (all).

      The processor and memory are generic computer components and are

“insufficient to add an inventive concept to an otherwise abstract idea.” In re TLI

Commc’ns, 823 F.3d at 614; Alice, 573 U.S. at 226 (“Nearly every computer will

include a ‘communications controller’ and ‘data storage unit’ capable of performing

the basic calculation, storage, and transmission functions required by the method

claims.”).

      The “encoders” are similarly generic and do not call for any special or unique

software or hardware. See, e.g., Appx306 (depicting “Encoder E1 ... En” boxes

within encoder module 30); Appx335 at 6:30-32 (“[T]he present invention may be

implemented in various forms of hardware, software, firmware, or a combination

thereof.”). In fact, the claims of the Patents-in-Suit encompass all manner of

encoding, which itself is not new and is well-known in the relevant art. See, e.g.,

Appx558 at 15:23-29 (“encoder set ... may include any number ... of those lossless

encoding techniques currently well known within the art”); Appx336 at 7:11-17

(same); Appx491 at 7:5-11 (same); Appx413 at 7:5-11 (same); Appx263 at 12:16-

22 (same); Appx116 at 11:40-46 (same); Appx180 at 11:66-12:5 (same).




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      As discussed below, Realtime’s reference to multiple conventional computer

components does not alter the conclusion that the claims recite no specific

technological solution.

      a.     Data Compression (’728, ’825, and ’203 Patents)

      With respect to the ’728, ’825, and ’203 Patents, Realtime recites elements of

claim 1 of the ’728 Patent in an effort to show that the claims solve technological

issues by “requir[ing] specific, unconventional combinations of specially configured

computer elements.” Br. at 60. It also claims that the ’203 and ’825 Patents claim

unconventional combinations of computer elements “utilizing content dependent

and content independent data compression.”         Id. at 61.    But the encoders,

compression, and processor that Realtime points to are nothing more than

conventional components performing basic functions. See RecogniCorp, 855 F.3d

at 1328 (stating that the claim at issue did “exactly what we have warned it may not:

tell a user to take an abstract idea and apply it with a computer”). For example, as

stated above, the encoder modules “may include any number ... of those lossless or

lossy encoding techniques currently well known in the art[.]” Appx340 at 16:37-44.

      The processor is not a specially configured computer component; instead, it

is a processor that would be found in any general purpose computer. See Appx335

at 6:32-37 (“[I]mplemented in software as an application program that is executable

by, e.g., a general purpose computer[.]”). Analyzing data without relying only on a


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descriptor is also a “well-understood, routine, conventional activit[y] previously

known to the industry.” In re TLI Commc’ns, 823 F.3d at 613 (citation omitted); see

PersonalWeb Techs., 8 F.4th 1310 at 1312-13, 1318-19 (finding no inventive

concept where claims used an identifier that “depends on the item’s content” and

perform “data-management functions”). The ’728 Patent even acknowledges that

data in a data block could be examined using known methods—“parse[d], lexically,

syntactically, or otherwise ... using methods known by those skilled in the art[.]”

Appx339 at 14:59-64.

      Additionally, Realtime appears to argue that the District Court’s sole basis for

deciding that the ’825 Patent failed at Alice step two was that none of the claims

“even required physical components.” Br. at 65. Although the District Court did

note that the ’825 Patent did not require physical components, its inquiry did not end

there. It went on to add that “[s]ince the patent neither requires any hardware nor

otherwise teaches any technical improvement to computer technology,” it does not

provide technological solutions. Appx28 (emphasis added).

      Lastly, the alleged “non-conventional functions,” e.g., “analyzing the data to

identify one or more parameters or attributes and performing compression with a

plurality of different encoders” (Br. at 64), involve mere abstract manipulation of

data that “cannot supply the inventive concept.” BSG Tech LLC v. Buyseasons, Inc.,

899 F.3d 1281, 1290 (Fed. Cir. 2018).


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      b.     Accelerated Data Storage and Retrieval (’908, ’530, and ’458 Patents)

      Turning to the ’908, ’530, and ’458 Patents, Realtime refers to claim 1 of the

’908 Patent and argues that it contains “specific, unconventional combinations of

specially configured computer elements.” Br. at 61. But the memory device is not

a specially configured computer component; rather, it is a device that would be found

in any general purpose computer. See Appx177 at 5:42-47 (“memory storage device

... may be volatile or non-volatile in nature[;] ... [s]torage devices as known within

the current art include all forms of random access memory”). As the court stated in

In re Board of Trustees of Leland Stanford Junior University, “it is hard to imagine

a patent claim that recites [a] hardware limitation[] in more generic terms[.]” In re

Bd. of Trs. of Leland Stanford Junior Univ., 989 F.3d 1367, 1374 (Fed. Cir. 2021).

      Use of a data accelerator that stores data “faster” is also not sufficient to turn

the claim into “anything more than a generic computer for performing the abstract

idea.” Ericsson Inc., 955 F.3d at 1330. That is because “merely adding computer

functionality to increase the speed or efficiency of the process does not confer patent

eligibility on an otherwise abstract idea.” PersonalWeb Techs., 8 F.4th at 1319

(citation omitted); see also Electric Power Grp. 830 F.3d at 1355 (noting that claims

“merely call for performance of the claimed information ... analysis ... on a set of

generic computer components,” and thus “do[] not transform the claimed subject

matter into patent-eligible applications”) (citations omitted). This is more so the


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case because the data acceleration here uses “‘well-understood, routine,

conventional activit[y]’ previously known to the industry.” In re TLI Commc’ns,

823 F.3d at 613 (citation omitted).

      Realtime also points to additional generic elements, such as a descriptor in

claim 1 of the ’530 Patent, as well as the encoder and compression in claim 1 of the

’458 Patent. Br. at 61-62. But utilizing a descriptor is also a “‘well-understood,

routine, conventional activit[y]’ previously known to the industry” (indicative of a

compression technique and used to perform decompression). In re TLI Commc’ns,

823 F.3d at 613 (citation omitted). The specification of the ’530 Patent confirms

that decompression in this manner is conventional by noting “other data

decompression systems and methods known to those skilled in the art may be

employed for providing accelerated data retrieval.” Appx117 at 14:42-48.

      Use of an encoder and performing compression is another generic computer

element that calls for any combination of hardware or software. See, e.g., Appx116

at 11:62-12:2 (“encoding process may be performed either in parallel or sequentially

... the encoders E1 through En of encoder module 25 may operate in parallel (i.e.,

simultaneously processing a given input data block by utilizing task multiplexing on

a central processor, via dedicated hardware, by executing on a plurality of processor

or dedicated hardware systems, or any combination thereof).”). This is not a

“particularized application of encoding ... data” but instead is an improper attempt


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at claiming all manner of encoding. RecogniCorp 855 F.3d at 1328; see Adaptive

Streaming Inc. v. Netflix, Inc., 836 F. App’x 900, 904 (Fed. Cir. 2020)

(nonprecedential) (finding “no identification in the claims or written description of

specific, unconventional encoding, decoding, compression, or broadcasting

techniques”).

      Here, too, the alleged inventive concept, using multiple encoders to store and

retrieve data (Br. at 68), amounts to an abstract idea itself and cannot provide an

inventive concept. BSG, 899 F.3d at 1290.

      c.     Data Feed Acceleration (’751 Patent)

      With respect to the ’751 Patent, Realtime recites generic computer elements,

including “a data server” implemented on one or more “processors” and one or more

“memory systems,” as well as a state machine. Br. at 62-63. But the data server is

merely configured to “analyze” data, “select” an encoder, “compress” data using a

state machine, and “store” the data. The data server, used in conjunction with a

processor and memory, are precisely the type of elements that this Court has found

to be generic. See In re Stanford, 989 F.3d at 1374 (finding claim reciting method

steps carried out by a “computer” with a “processor” and a “memory” to be reciting

hardware limitations in generic terms (citation omitted)).

      The state machine is also a generic limitation. The specification explains it

only requires that “in each state, there is a compression/decompression table


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comprising information on how to encode/decode[.]” See Appx557 at 13:28-33.

Moreover, Realtime acknowledged state machines “are well-known computer

components.” Appx4921 at 31:19-20.

       Again, the purportedly unconventional “solution” resides in “digital data

transmission” (Br. at 69), an abstract idea that cannot furnish the inventive concept.

BSG, 899 F.3d at 1290; see Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC,

874 F.3d 1329, 1340 (Fed. Cir. 2017) (holding ineligible claims to “processing data

streams, transmitting them from ‘an intermediate computer,’ and then confirming

certain information about the transmitted”).

               2.    The Claims Of The Patents-In-Suit Do Not Provide
                     Unconventional Solutions To Known Problems In Data
                     Compression

       Relying heavily on the specifications, Realtime argues that an inventive

concept exists because the Patents-in-Suit solve known prior art problems. See, e.g.,

Br. at 60 (citing to specification in stating that the ’728, ’203, ’825 Patents addressed

problems relating to “data dependency”).

       As an initial matter, the inquiry at Alice step two is strictly limited to what is

claimed, not what the specification discloses. See Two-Way Media, 874 F.3d at 1338

(“The main problem … is that the claim—as opposed to something purportedly

described in the specification—is missing an inventive concept.” (emphasis in

original)).


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      Moreover, even if considered, the specifications do not identify an

unconventional solution to data dependency. Instead, they disclose use of generic

computer technology to compress data. See Appx335 at 6:32-37 (“implemented in

software as an application program that is executable by, e.g., a general purpose

computer”); Appx490 at 6:26-31 (same); Appx412 at 6:26-31 (same); Appx554 at

8:23-26 (“[g]eneral purpose computers ... may be employed to implement the present

invention”); Appx176 at 4:50-54 (“present invention is implemented on a computer

platform”); Appx112 at 4:50-54 (same); Appx259 at 4:53-57 (same). Use of generic

computer technology does not provide an inventive concept. See FairWarning IP,

839 F.3d at 1097 (an inventive concept requires claims to “propose a solution or

overcome a problem ‘specifically arising in the realm of computer [technology]’”

beyond the “recitation of generic computer limitations” (alteration in original)

(citations omitted)); see also In re TLI Commc’ns, 823 F.3d at 615 (noting the

“specification limits its discussion of these components to abstract functional

descriptions devoid of technical explanation as to how to implement the invention.”).

             3.     The Analysis Does Not Change When Considering The
                    Claims As An Ordered Combination

      Realtime repeatedly argues that the District Court failed to consider the claim

limitations of the Patents-in-Suit as an ordered combination. See, e.g., Br. at 34, 67,

70. For example, Realtime argues that the limitations of the ’908 Patent as an

ordered combination were not considered. See Br. at 67-68. But, the District Court

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did look at the limitations in the ’908 Patent, and specifically referred to the claims

of the ’908 Patent as requiring “compressing two different data blocks with different

methods” and “compression and storage [that] together are faster than storage of the

uncompressed data alone.” Appx33. Utilizing multiple compression techniques and

compressing and storing data on to a generic device “faster” than it can be stored in

uncompressed form, when viewed together, “ad[d] nothing ... that is not already

present when the steps are considered separately.” Alice, 573 U.S. at 225 (alterations

in original) (citation omitted). Thus, the District Court correctly concluded that the

claims of the ’908 Patent were “purely abstract and do not provide any inventive

steps[.]” Appx34.

      Realtime also argues that the District Court failed to consider the limitations

of the ’751 Patent’s claims as an ordered combination. See Br. at 69-70. But it does

not support this argument with any citation or, importantly, explain how the

purported failure should have changed the District Court’s conclusion. Indeed, this

failure is pervasive throughout its brief—accusing the District Court of mistakes

without any reference to the record, and then failing to explain how such purported

mistakes caused it to reach a supposedly incorrect legal conclusion.

      In the end, as with its step one arguments, Realtime’s criticisms of the District

Court’s step two analysis are not supported by the actual record. There is no legal

error for this Court to correct.


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II.   The District Court Correctly Applied The Alice Analysis

      Contrary to Realtime’s argument that the District Court erred in applying

Alice (Br. at 49-57), the District Court correctly applied the two-step Alice

framework. It identified and analyzed limitations of each representative claim, and

concluded that they were directed to abstract ideas and added no inventive features.

See Appx18-40.

      After allowing Realtime the opportunity to amend its complaint, the District

Court addressed additional limitations that Realtime specifically identified, but

concluded that Realtime failed to “explain why these limitations are relevant to

subject-matter eligibility.” Appx74.

      Notably, the District Court never said that claims “involv[ing]” an abstract

idea are necessarily directed to that abstract concept, as Realtime suggests. Br. at

50; compare Appx70-71.

      A.     The District Court’s Analysis Of Representative Claims Was
             Appropriate

      Realtime argues that the District Court’s designation of certain claims as

representative was incorrect. See Br. at 34, 51-52, 63-64. But Realtime’s decision

to assert patents containing hundreds of claims required analysis of representative

claims. See Content Extraction, 776 F.3d at 1348 (substantially similar claims

directed to the same abstract idea can be considered together for subject-matter

eligibility); see also BanCorp Servs., L.L.C. v. Sun Life Assurance Co. of Can. (U.S.),

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687 F.3d 1266, 1277 (Fed. Cir. 2012) (holding that “asserted system and medium

claims [were] no different from the asserted method claims for patent eligibility

purposes”).4

       The District Court carefully reviewed the Patents-in-Suit—many of which

share common specifications—to identify representative claims. See Appx18-21;

Appx29-30; Appx32-33; Appx34-37; Appx39; Appx42-43. The differences among

many of the claims, which share most limitations—(i) analyzing data without relying

only on a descriptor; (ii) using two or more encoders; (iii) using a token identifier;

(iv) compressing and storing data “faster”; and (v) using a state machine—are of

form, not substance.

       Realtime wrongly asserts that the District Court deemed “the ’825 patent []

representative of all seven asserted patents.” Br. at 52 (emphasis in original).

Rather, the District Court “consider[ed] each patent individually, beginning with the

[’]825 [P]atent,” and rather than repeat the consistent portions, “address[ed]

subsequent patents by discussing whether any of the limitations they add change the

§ 101 analysis”—including a representative claim for each of the Patents-in-Suit.

Appx18-21; Appx29-30; Appx32-33; Appx34-37; Appx39; Appx42-43.




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    Rewarding “safety in numbers” would create a perverse incentive for a plaintiff
    to assert as many claims as possible to prevent efficient § 101 analysis.

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      B.     The District Court Considered, But Did Not Need To Give
             Deference To, Non-Binding Precedent Cited By Realtime

      Realtime insists that the District Court was required to give deference to non-

binding opinions from other district courts. See Br. at 24-28, 57-59; but see

Camreta, 563 U.S. at 709 n.7 (“A decision of a federal district court judge is not

binding precedent in either a different judicial district, the same judicial district, or

even upon the same judge in a different case.” (citation omitted)).            Realtime

references two rulings in cases involving a total of three of the seven Patents-in-Suit,

where a district judge adopted the recommendations of Magistrate Judge Love in the

Eastern District of Texas recommending denial of motions to dismiss in Realtime

Data, LLC v. Carbonite, Inc., No. 6:17-cv-121, D.I. 70 (E.D. Tex. Sept. 20, 2017)

(“Carbonite”) and Realtime Data LLC v. Actian Corp., No. 6:15-cv-00463, D.I. 84

(E.D. Tex. Nov. 30, 2015) (“Actian”). Realtime faults the District Court for making

“no attempt to distinguish its decision[.]” Br. at 59. But although Realtime identifies

no authority requiring a district court to distinguish prior decisions, it ignores that

the District Court did so here, including because “the Federal Circuit has [since]

reaffirmed that the processing of information, without more, is not patent eligible.”

See Appx48 at n.4.

      Additionally, the District Court here had the benefit of many years of

additional guidance on patent eligibility from this Court, as well as a more robust

record, including three rounds of briefing and a hearing at which Realtime’s counsel

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conceded that a state machine was a well-known computer component and was

unable to persuasively articulate how the claims were not abstract, nor identify an

inventive concept.    Appx4921 at 31:12-20; Appx4924-4928 at 34:8-38:24.

Moreover, the ’825, ’458, ’203, and ’751 Patents were not even asserted in the

Carbonite and Actian cases.

      In any event, the Carbonite decisions distinguished the claims of the ’728

Patent from those at issue in RecogniCorp, stating that, rather than claiming the

abstract idea of encoding and decoding, the invention “improves typical data

compression by compressing the data stream through content dependent and

independent data recognition, as well as a plethora of encoders to achieve its

maximum compression.” Appx7490. Because Carbonite ignores that the ’728

Patent’s specification expressly discloses that “content dependent” and “content

independent data encoders” can be the same, and “are well known within the art,”

that conclusion is substantively incorrect. Appx251 at 16:35-62.

      Lastly, Actian did not find that Realtime’s patents claim eligible subject

matter, but merely deferred resolution of “whether the patents contain an inventive

concept” until claim construction provided a “settled interpretation of the claim

language.” Appx7514-7515. There was no need to defer a resolution here because

the District Court adopted Realtime’s own proposed constructions for purposes of

adjudicating the motions to dismiss. See Appx75.


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                                  CONCLUSION

      The Federal Circuit tasked the District Court with reassessing the eligibility

of the Patents-in-Suit on remand. Heeding this Court’s guidance, the District Court

carefully reconsidered and refined its “directed to” analysis, addressed the decisions

of other courts reaching differing conclusions on patent eligibility, and distinguished

the cases cited by this Court and Realtime. Moreover, the District Court allowed

Realtime to amend its complaints.

      Yet the result remained the same—Realtime’s patents are directed to abstract

ideas and, further, lack any inventive concept to transform the ideas into patent-

eligible subject matter.

      Accordingly, this Court should affirm the judgment that the Patents-in-Suit

are invalid under § 101.




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      The brief complies with the type-volume limitation of Federal Circuit Rule

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